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IN THE UNITED sTATEs DIsTRIcT coURT men ev_,, ________M
FoR THE wESTERN DIsTRIcT oF TENNESSEE
wEsTERN DIVISION 05 JUL 25 AH 6’ 53
mont gewin
UNITED sTATEs oF AMERICA, X CLER?&U.S.DL:THCTCOLBT
X WDOFTN.MEMPWS
Plaintiff, X
X
vs. X CV. No. 04-2514-Ma/V
X Cr. No. 01-20064~l-Ma
FRED ASKEW, )(
X
Defendant. X
X

 

ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
ORDER DENYING IRREGULAR MOTIONS
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Fred Askew, Bureau of Prisons inmate registration
number 17740-076, an inmate at the Federal Prison Camp in Millington,
Tennessee, filed a p;Q §§ motion pursuant to 28 U.S.C. § 2255 on July
B, 2004. The Court issued an order on November 9, 2004 directing
Askew, pursuant to Rule 2(b) of the Rules Governing Section 2255
Proceedings for the United States District Courts, to file a copy of
his motion bearing his original signature. Defendant complied with the
Court's order on November 18, 2004.

Defendant has filed a number of documents in support of this
motion. Askew wrote a letter to the Court, which was dated October 12,
2004 and docketed October 21, 2004, objecting to his sentence and
seeking appointment of counsel and release on bail. On January 19,
2005, defendant submitted a motion entitled “Request for Order to Show

Cause and Injunctive Relief." The defendant wrote another letter to

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the Court, which was dated February 20, 2005 and docketed February 25,
2005, inquiring about the status of his motion.

On March 27, 2001, a federal grand jury returned a two-count
indictment against Askew and five codefendants. The first count
charged all defendants with conspiring, in violation of 18 U.S.C. §
371, to (i) embezzle, steal, unlawfully take, and carry away from a
motor truck, vehicle, storage facility, platform, and depot,r with
intent to convert to their own use, goods and chattels of a value of
more than $1000 moving in interstate commerce, in violation of 18
U.S.C. § 659; (ii) knowingly receive and have in their possession
goods and chattels having a value in excess of $1000, knowing the same
to have been stolen and embezzled from an interstate shipment of
freight and property, in violation of 18 U.S.C. § 659; and (iii)
transport in interstate commerce goods and merchandise of a value of
more than $5000 knowing the same to have been stolen, in violation of
18 U.S.C. § 2314. The second count charged that Askew, on or about May
11, 1998, embezzled, stole, unlawfully took and carried away, and
concealed a truckload of laptop computers traveling from Chicago to
Memphis, in violation of 18 U.S.C. § 659.

A jury trial commenced on..August 8, 2001 before then-
District Judge Julia Smith Gibbons. On August 10, 2001, the jury
returned a not guilty verdict on count 2, and Judge Gibbons declared
a mistrial on count 1. A second jury trial commenced on September 10,
2001 before Visiting Judge Bernard A. Friedman, and the jury returned
a guilty verdict on count 1 on September 13, 2001. Judge Gibbons
conducted a sentencing hearing on January 4, 2002, at which Askew was

sentenced to sixty (60) months imprisonment, to be followed by a

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three-year period of supervised release.1 The Court also ordered
restitution in the amount of $262,236.40. Judgment was entered on
January 17, 2002. The United States Court of Appeals for the Sixth

Circuit affirmed Askew's conviction and sentence. United States v.

 

Askgw, 74 Fed. Appx. 545 (6th Cir. Aug. 27, 2003) (per curiam).

In his original motion pursuant to 28 U.S.C. § 2255, which
was filed on July 8, 2004, Askew contended that the enhancement of his
sentence by twenty points pursuant to the sentencing guidelines was
unconstitutional because of the Supreme Court's decision in Blakely
v. Washington, 124 S. Ct. 2531 (2004). In his letter filed on October
21, 2004, Askew (i) complained that the laptop computers were included
in the relevant conduct for sentencingl purposes although. he was
acquitted of that charge; (ii) argued that his counsel rendered
ineffective assistance, in violation of the Sixth Amendment, for
failing to make certain arguments at the sentencing hearing about the
laptop computers; (iii) asked for appointment of counsel; and (iv)
asked for release or a modified sentence of home confinement because
of Blakely. In his January 19, 2005 filing, Askew argued that he was
entitled to relief on the basis of United States v. Booker, 125 S. Ct.

758 (2005).

 

1 Pursuant to § 2B1.l(a)(1) of the United States Sentencing Guidelines

(“U.S.S.G”), the base offense level for larceny, embezzlement, and other forms of
theft, and for receiving, transporting, transferring, transmitting, or possessing
stolen property is 4. Askew received four enhancements: (i) a 12-point enhancement,
pursuant to U.S.S.G. § 2B1.1(b)(1)(M), because the value of the property at issuer
including the value of the laptop computers for which Askew had been acquitted, was
more than $500,000 but less than $BO0,000; (ii) a two-point enhancement, pursuant
to U.S.S.G. § 281.1(b)(4)(A), because the offense involved. more than. minimal
planning; (iii) a four-point enhancement, pursuant to U.S.S.G. § BBl.l(a), as the
organizer or leader of a criminal activity that involved five or more participants
or was otherwise extensive; and (iv) a two~point enhancement, pursuant to U.S.S.G.
§ 3Cl.l, for obstruction of justice. As a result of these enhancements, Askew's
total offense level was 24. Given Askew's criminal history category of I, the
guidelines called for a sentencing range from 51 to 63 months.

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As a preliminary matter, Askew cannot raise the objection
to inclusion of the laptop computers in his relevant conduct in this
§ 2255 motion. That issue was raised on direct appeal, and the Sixth
Circuit concluded that the inclusion of the laptop computers in the
relevant conduct was not plain error. United States v. Askew, 74 Fed.
Appx. at 546-48. “[A] § 2255 motion may not be employed to relitigate
an issue that was raised and considered on direct appeal absent highly
exceptional circumstances, such as an intervening change in the law.”
Jones v. United States, 178 F.3d 790, 796 (6th Cir. 1999); see DuPont
v. United States, 76 F.3d 108, 110 (6th Cir. 1996). In this case,
Askew appears to contend that the Supreme Court's decisions in Blakely
v. Washington, 124 S. Ct. 2531 (2004), and United States v. Booker,
125 S. Ct. 758 (2005), constitute an intervening change in the law and
thus are an extraordinary circumstance justifying reconsideration. As

will be discussed infra, the defendant's contention is erroneous.

 

Askew also contends that his attorney rendered ineffective
assistance, in violation of the Sixth Amendment, for failing to make
certain arguments about the laptop computers at the sentencing
hearing. A claim that ineffective assistance of counsel has deprived
a defendant of his Sixth Amendment right to counsel is controlled by
the standards stated in Strickland v. Washinqton, 466 U.S. 668, 687
(1984):

A.convicted¢defendant's clainlthat counsel's assistance

was so defective as to require reversal of a conviction or
death sentence has two components. First, the defendant must
show that counsel's performance was deficient. This requires
showing that counsel made errors so serious that counsel was
not functioning as the “counsel” guaranteed the defendant
by the Sixth Amendment. Second, the deficient performance

prejudiced the defense. This requires showing that counsel's
errors were so serious as to deprive the defendant of a fair

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trial, a trial whose result is reliable. Unless a defendant
makes both showings, it cannot be said that the conviction
or death sentence resulted fronla breakdown in the adversary
process that renders the result unreliable.

To demonstrate deficient performance by counsel, a defendant
must demonstrate that “counsel’s representation fell below an
objective standard of reasonableness.” Id. at 688.

Judicial scrutiny of counsel’s performance must be
highly deferential. It is all too tempting for a defendant
to second-guess counsel's assistance after conviction or
adverse sentence, and. it is all too easy' for' a court,
examining counsel's defense after it has proved
unsuccessful, to conclude that a particular act or omission
of counsel was unreasonable. . . . A fair assessment of
attorney performance requires that every effort be made to
eliminate the distorting effects of hindsight, to
reconstruct the circumstances of counsel’s challenged
conduct, and to evaluate the conduct from counsel’s
perspective at the time. Because of the difficulties
inherent in making the evaluation, a court must indulge a
strong presumption that counsel's conduct falls within the
wide range of reasonable professional assistance; that is,
the defendant must overcome the presumption that, under the
circumstances, the challenged action “might be considered
sound trial strategy.”

ld_L at 689 (citation omitted); see also Coe v. Bell, 161 F.3d 320, 342
(6th Cir. 1999) (“The specifics of what Coe claims an effective lawyer
would have done for him are too voluminous to detail here. They also
largely miss the point: just as (or more) important as what the lawyer
missed is what he did not miss. That is, we focus on the adequacy or

inadequacy of counsel’s actual performance, not counsel’s (hindsight)

potential for improvement.”); Adams v. Jago, 703 F.2d 978, 981 (6th
Cir. 1983) (“a defendant ‘has not been denied effective assistance by

erroneous tactical decisions if, at the time, the decisions would have
seemed reasonable to the competent trial attorney'”).
A prisoner attacking his conviction bears the burden of

establishing that he suffered some prejudice from his attorney’s

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ineffectiveness. Lewis v. Alexander, 11 F.3d 1349, 1352 (6th Cir.
1993); Isabel v. United States, 980 F.2d 60, 64 (1st Cir. 1992). “[A]
court need not determine whether counsel's performance was deficient
before examining the prejudice suffered by the defendant.” Strickland,
466 U.S. at 697. If a reviewing court finds a lack of prejudice, it
need not determine whether, in fact, counsel’s performance was
deficient. ld¢ at 697.

To demonstrate prejudice, a. prisoner must establish “a
reasonable probability that, but for counsel's unprofessional errors,
the result of the proceeding would have been different.” ld; at 694.
“A reasonable probability is a probability sufficient to undermine
confidence in the outcome.” ld; Additionally, however, in analyzing
prejudice,

the right to the effective assistance of counsel is

recognized not for its own sake, but because of the effect

it has on the ability of the accused to receive a fair

trial. Absent some effect of the challenged conduct on the

reliability of the trial process, the Sixth Amendment

guarantee is generally not implicated.
Lockhart v. Fretwell, 506 U.S. 364, 368 (1993) (citing United States
v. Cronic, 466 U.S. 648, 658 (1984)); see also Strickland, 466 U.S.
at 686 (“The benchmark for judging any claim of ineffectiveness must
be whether counsel's conduct so undermined the proper functioning of
the adversarial process that the trial cannot be relied on as having
produced a just result.”). “Thus analysis focusing solely on mere
outcome determination, without attention to whether the result of the

proceeding was fundamentally unfair or unreliable, is defective.”

Lockhart, 506 U.S. at 369.

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Where, as here, a defendant contends that he received
ineffective assistance of counsel at his sentencing, the Supreme Court
has held that any increase in a defendant's sentence constitutes
prejudice within the meaning of Strickland. Glover v. United States,
531 U.S. 198, 202-04 (2001).

In this case, the Sixth Circuit's decision on direct appeal
contained the following passage addressing the theft of the laptop
computers:

Turning to the facts of the present case, defendant
points out that the theft of the laptop computers occurred
in May 1998 while the theft of the television sets began in
May 1999, over a year later. Furthermore, there are other
factors that support a conclusion that the laptop theft did
not constitute relevant conduct: 1) he did not undertake the
theft with the co-conspirators who assisted him with the
televisions; 2) the items stolen were different; and 3)
while all of the thefts involved trucks, the modus operandi
was otherwise not the same.

However, defendant failed to present these arguments
to the district court. This oversight deprived the
government and the district court of the opportunity to
address defendant's points during the sentencing hearing.
Consequently, our review is for plain error.

United States v. Askew, 74 Fed. Appx. at 547. According to Askew,
trial counsel's failure to raise these issues constituted ineffective
assistance.

Notwithstanding the distinctions raised by appellate
counsel, the Sixth Circuit explained at length why the laptop
computers could appropriately be considered relevant conduct:

The government argues that the laptop and television
thefts were sufficiently' similar~ to represent a common
scheme or plan and thus represent relevant conduct for
sentencing purposes. According to the trial testimony of
Jason Wilson, the man who purchased the stolen televisions,
each of defendant's two brothers unloaded televisions from

the truck on at least one occasion. During the first trial,
co-conspirator Archie Collier testified that one of

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defendant's brothers told him that defendant had computers
for sale at approximately the same time as the laptop theft.
Also during the first trial, co-conspirator Jeffrey Tuggle
stated that defendant told him that “he had just brought
some computers from Chicago, and he had the truck” and was
therefore capable of removing the televisions from Sears.
Finally, Wilson testified during the first trial that
defendant “said he had stole a load of laptop computers that
he sold for $600 apiece.”

Admittedly, the link between the theft of the laptop
computers and the subsequent conspiracy is not ironclad.
However, there is evidence that defendant used the laptop
theft to bolster his credibility in recruiting participants
for the conspiracy and that at least one of his brothers may
have participated in both crimes. When coupled with the
fundamental similarity' of the crimes, we would. be hard
pressed to conclude that the district court committed plain
error when it included the theft of the laptops as relevant
conduct.

Id. at 547-48. Askew does not attempt to establish that there is a
reasonable probability that, if only counsel had made the arguments
at issue, the sentencing judge would not have considered the laptop
computers to be part of the relevant conduct. Accordingly, this issue
is without merit.

Askew is not entitled to relief on the basis of Blakely and

Booker. “As a general rule, new constitutional decisions are not
applied retroactively to cases that were finalized prior to a new
Supreme Court decision.” Goode v. United States, 305 F.3d 378, 383
(6th Cir. 2002); see Schriro v. Summerlin, 124 S. Ct. 2519, 2522-26
(2004) (holding that decision in Ring v. Arizona, which held that a
sentencing judge in a capital case may not find an aggravating factor
necessary for imposition of the death penalty, and that the Sixth
Amendment requires that those circumstances be found by a jury, does

not apply retroactively to cases on collateral review); Teague v.

Lane, 489 U.S. 288 (1989). Applying these standards, the Sixth Circuit

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has held that Blakely and Booker issues cannot be raised in an initial
motion pursuant to 28 U.S.C. § 2255. Humphress v. United States, 398
F.3d 855, 860-63 (6th Cir. 2005).

The motion, together with the files and record in this case
“conclusively show that the prisoner is entitled to no relief.” 28
U.S.C. § 2255; see also Rule 4(b), Rules Governing Section 2255
Motions in the United States District Courts. Therefore, the Court
finds that a response is not required from the United States Attorney
and that the motion may be resolved without an evidentiary hearing.
United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United
States, 781 F.2d 85, 92 (6th Cir. 1986). Defendant's conviction and
sentence are valid and therefore, his motion is DENIED. Accordingly,
the motions for appointment of counsel and for release on bond or home
confinement are DENIED.

Consideration must also be given to issues that may occur
if the defendant files a notice of appeal. Twenty-eight U.S.C. §
2253(a) requires the district court to evaluate the appealability of
its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial
showing of the denial of a constitutional right.” 28 U.S.C. §
2253(c)(2); see also Fed. R. App. P. 22(b); Lyons v. Ohio Adult Parole
Au;hg, 105 F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue
certificates of appealability under the AEDPA). No § 2255 movant may
appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard

announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which

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requires a showing that “reasonable jurists Could debate whether (or,
for that matter, agree that) the petition should have been resolved
in a different manner or that the issues presented were “‘adequate to
deserve encouragement to proceed further.'” §lagk, 529 U.S. at 484
(quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require a
showing that the appeal will succeed. Accordingly, a court
of appeals should not decline the application of a COA
merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in Slack
would mean very little if appellate review were denied
because the prisoner did not convince a judge, or, for that
matter, three judges, that he or she would prevail. It is
consistent with § 2253 that a COA. will issue in some
instances where there is no certainty of ultimate relief.
After all, when a COA is sought, the whole premise is that
the prisoner “‘has already failed in that endeavor.'”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463
U.S. at 893). Thus,

[a] prisoner seeking a COA must prove “‘something more than
the absence of frivolity'” or the existence of mere “good
faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

Id. at 338 (quoting Barefoot, 463 U.S. at 893); see also id. at 342
(cautioning courts against conflating their analysis of the merits

with the decision of whether to issue a COA; “The question is the

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debatability of the underlying constitutional claim, not the
resolution of that debate.”).2

In this case, for the reasons previously stated, the
defendant's claims are plainly lacking in substantive merit and,
therefore, he cannot present a question of some substance about which
reasonable jurists could differ. The Court therefore DENIES a
certificate of appealability.

The Prison Litigation Reforn1Act of 1995 (“PLRA”), 28 U.S.C.
§ 1915(a)(3), does not apply to appeals cf orders denying § 2255
motions. Hereford v. United States, 117 F.3d 949, 951 (6th Cir. 1997);
cf. McGore v. Wriqqlesworth, 114 F.3d 601, 610 (6th Cir. 1997)
(instructing courts regarding' proper PLRA. procedures in. prisoner
civil-rights cases). Rather, to seek leave to appeal ip_fp;g@ pauperis
in a § 2255 case, and thereby avoid the $255 filing fee required by
28 U.S.C. §§ 1913 and 1917,3 the prisoner must seek permission from
the district court under Rule 24(a) of the Federal Rules of Appellate
Procedure. Hereford, 117 F.3d at 952. If the motion is denied, the
prisoner may renew the motion in the appellate court.

Rule 24(a) states, in pertinent part that:

A party to an action in a district court who desires to
proceed. on appeal ip forma. pauperis shall file in the

 

2 By the same token, the Supreme Court also emphasized that “[o]ur holding

should not be misconstrued as directing that a COA always must issue." lgp at 337.
Instead, the COA requirement implements a system of “differential treatment of those
appeals deserving of attention from those that plainly do not.” ;gp

3 Effective November 1, 2003, the fee for docketing an appeal is $250. §pp
Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913. Under
28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or application
for appeal or upon the receipt of any order allowing, or notice of the
allowance of, an appeal or of a writ of certiorari $5 shall be paid to
the clerk of the district court, by the appellant or petitioner.

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district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by Form

4 of the Appendix of Forms, the party’s inability to pay

fees and costs or to give security therefor, the party's

belief that that party is entitled to redress, and a

statement of the issues which that party intends to present

on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. It is
therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any
appeal in this matter by this defendant is not taken in good faith,
and he may not proceed on appeal ip forma pauperis.

IT ls so oRnsRED this ‘?--'3-"”t day of July, 2005.

M///VL...

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 8 in
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Honorable Samuel Mays
US DISTRICT COURT

